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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CHRISTOPHER MANSOORI,                     )
                                          )
               Plaintiff,                  )       22 CV 1635
                                          )
v.                                        )        Judge Lindsay C. Jenkins
                                          )
  Sergeant Williams, et al.,               )
                                           )       Magistrate Judge Jeffrey T. Gilbert
                                          )
               Defendants.                 )
                             ALL CASE JOINT STATUS REPORT
       The Plaintiff, Christopher Mansoori (“Plaintiff”), both Pro Se and through his attorney,

George C. Pontikes and Defendants, by their attorney KIMBERLY M. FOXX, State’s Attorney

of Cook County, through their respective Assistant State’s Attorney’s, Jorie R. Johnson, Joel

Zeid, and Miguel Larios and in compliance with the Court’s order (Dkt. 29.) submit the

following Joint Status Report:

                                         Executive Summary

       The Parties have grouped Plaintiff Christopher Mansoori’s cases currently in litigation,

where Defendants employed by the Cook County Sheriff’s Office and County of Cook are

represented by the Cook County States Attorney’s Office, into the following four categories,

discussed more fully below:

       A) Two cases in which discovery is not proceeding because Defendants have not been

           served.

       B) Three cases in which there are pending motions to dismiss.

       C) Six cases that are currently proceeding with discovery based on the limited issue of

           exhaustion of administrative remedies pursuant to Pavey v. Conely, per Defendants’

           affirmative defense of Plaintiff’s failure to exhaust administrative remedies.

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          D) Four cases in which merit-based discovery is currently underway.

A. Cases Currently Awaiting Service on Defendants.

   The Parties have identified the following two cases below in which no Defendants have been

served.


      Case name                Case Number               Defendants           Status of Service



      Christopher                                     C.O. Hadaad; C.O.         No Service on
       Mansoori               2021- CV- 6242                Smith                Defendants
     v. C.O. Smith

     Christopher                                      Sheriff Dart; Alesia      No Service on
      Mansoori                 2022-CV-1638                  Hines               Defendants
 v. Sheriff Dart, et al.

                                         2021-CV-6242
                               Christopher Mansoori v. C.O. Smith

          This is an excessive force claim, where Plaintiff alleges that unknown officers used

excessive force against him on November 15, 2019.

          1.     Plaintiff issued Interrogatories to identify unknown officers on November 22, 2022.

Nominal Defendant Sheriff Dart responded to Plaintiff’s written discovery on December 22, 2022.

Plaintiff filed a Motion to Compel against Nominal Defendant Dart on December 5, 2022. The

Parties conducted a Local Rule 37.2 conference on January 19, 2023. The parties agreed that

Defendants would supplement written discovery responses by February 2, 2023.

          2.     The Parties subsequently met again on February 1, February 16, and February 28

for further Local Rule 37.2 conferences in order to discuss issues related to Plaintiff’s Motion to

Compel. In March of 2023, Plaintiff agreed to withdraw his Motion to Compel after the parties

came to an agreement regarding the identification of parties C.O. D. Smith and C.O. Hadaad.

Plaintiff filed his Amended Complaint on May 16, 2023 (Dkt. 38.), subsequent to the Court’s 1915

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A review. No other written discovery has been issued or exchanged by either party in connection

with this case.

                                          2022-CV-1638
                                Christopher Mansoori v. Sheriff Dart

       This is a delay in medical care case where Plaintiff alleges he was exposed to Covid-19

and left without medical treatment.

       1.         Plaintiff issued Interrogatories to identify unknown officers on November 22, 2022.

Nominal Defendant Sheriff Dart responded to Plaintiff’s written discovery on December 22, 2022.

Plaintiff filed a Motion to Compel against Nominal Defendant Dart on December 5, 2022. The

Parties had a Local Rule 37.2 conference on January 19, 2023. The parties agreed that Defendants

would supplement written discovery responses by February 2, 2023.

       2.         The Parties subsequently met again on February 1, February 16, and February 28

for further Local Rule 37.2 conferences to discuss issues relating to Plaintiff’s Motion to Compel.

Plaintiff agreed to withdraw his Motion to Compel after the parties came to an agreement regarding

the identification of parties. Plaintiff filed his Amended Complaint on April 5, 2023 ( Dkt. 29.),

after the Court completed its 1915 A review. On May 10, 2023, Plaintiff’s Motion to Compel was

denied as moot since Plaintiff obtained the identity of the Nurse Jane Doe (Nurse Alesia Hines).

(Dkt. 31.) No other subsequent written discovery has been issued or exchanged by either party in

connection with this case.

    B. Cases Currently Pending Before the Court, Awaiting Ruling On Fully Briefed
       Motions to Dismiss.

       The Parties have identified the following three cases below, each matter has or had a fully

briefed, pending Motion to Dismiss on file.




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                                                                     Status of Motion to
            Case name                   Case Number
                                                                          Dismiss

                                                                  Motion to Dismiss Fully
     Christopher Mansoori
                                                                  Briefed as of January 18,
   v. Christopher Stadnicki,            2022-CV-2471
                                                                            2023
            PA- C
                                                                  Fully Briefed Motion to
    Christopher Mansoori
                                        2022-CV-1635             Dismiss denied on May 30,
 v. Sergeant Aaron Williams
                                                                           2023
                                                                Motion Dismiss Granted on
                                                                April 5, 2023. Plaintiff given
     Christopher Mansoori                                        until April 20, 2023 to file
    v. Ms. Pickens and Ms.             2022 -CV- 3485            Amended Complaint. No
            Vanco                                                 Amended Complaint has
                                                                been filed as of today’s date

                                       2022-CV-1635
                       Christopher Mansoori v. Sergeant Aaron Williams

       This is a retaliation case where Plaintiff alleges that Sgt. Williams played a role in

aggressively placing another inmate into Plaintiff’s cell, beating that inmate, and directing

intimidating comments toward Plaintiff regarding his lawsuits in an attempt to thwart Plaintiff’s

ability to file subsequent suits.

       1.       On May 30, 2023 the Court denied Defendant Sgt. Williams Motion to Dismiss

and an answer has not yet been filed, but will be by the deadline of June 13, 2023. The Parties

have propounded written Discovery. The Parties are currently reviewing and answering

propounded written discovery. The Parties will then determine if further written discovery or a

conference is needed. The Parties recently met via video conference on zoom for a recurring bi-

weekly discovery discussion and another conference is scheduled for June 14, 2023. The Parties

are planning to work together to arrange depositions in the next 2 months.




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                                     2022-CV-2471
                    Christopher Mansoori v. Christopher Stadnicki, PA-C

       This is an unreasonable medical care case where Plaintiff alleges failure to provide a proper

diet during his incarceration, causing a broken finger. Plaintiff alleges the time period to have

occurred from September 21, 2016 to February 15, 2018.

       1.      The Parties have propounded written discovery and are in the process of reviewing

and responding. The Parties will then determine if further written discovery or a conference is

needed. This case currently has a fully briefed motion to dismiss pending on a ruling from the

court based on a Statue of Limitations and improper Service. The Parties recently met via video

conference on zoom for a recurring bi-weekly discovery discussion and another conference is

scheduled for June 14, 2023. The Parties are planning to work together to arrange depositions in

the next 2 months. The Parties plan to proceed with briefing on the issue of exhaustion if

Defendants Motion to Dismiss is not granted. The Parties reserve the right to serve further written

discovery and depose any parties or other witnesses on the merit issues in this case if the case

proceeds after the briefing on the issue of exhaustion.

                                      2022-CV-3835
                     Christopher Mansoori v. Ms. Pickens and Ms. Vanco

       This is an access to court case where Plaintiff alleges, he was denied access to law library,

causing damage to an appeal he was proceeding with in court in December of 2017.

       1.      Defendants issued written discovery on April 5, 2023 in accordance with Discovery

Case Management Order. (Dkt. 43.) Per the April 6, 2034 order entered by the Court, Plaintiff’s

Complaint was dismissed, and Plaintiff was granted until April 20, 2023 to amend. (Dkt. 45). On

April 26, 2023 Plaintiff issued discovery requests on Defendants, but no Amended Complaint has

been filed and thus there is no operative Complaint. The Parties are currently reviewing and



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answering propounded written discovery, although no Operative Complaint exists to await the

Courts final orders regarding dismissal.

C. Cases Regarding Plaintiff’s Failure to Exhaust his Administrative Remedies

       Defendants have identified the below six cases where Plaintiff failed to exhaust his

administrative remedies. As such, Defendants asked that discovery be limited to the issue of

exhaustion of administrative remedies, so the matter may be addressed by motion prior to any

discovery taken for any issues on the merits. Magistrate Judge Gilbert granted this request on

March 2, 2023 in all the cases.



           Case name                       Case Number                    Defendant(s)

      Christopher Mansoori
                                                                      Superintendent Brown
  v. Superintendent Brown and              2017-CV-8846
                                                                       Commander Garcia
       Commander Garcia
                                                                  Correctional Officer Kimberly
                                                                    Squires, Lieutenant James
      Christopher Mansoori
                                                                   Holmes, Lieutenant Damita
     v. Correctional Officer               2021-CV-5881
                                                                   Delitz, Correctional Officer
          Squires, et al.
                                                                  William Mintah, and Assistant
                                                                  Executive Director Erica Queen

      Christopher Mansoori
                                           2022-CV-1634               Jovante Thomas (“JT”)
    v. Jovante Thomas (“JT”)

      Christopher Mansoori
                                                                       Correctional Officer
     v. Correctional Officer               2022-CV-2469
                                                                             Larkin
             Larkin

      Christopher Mansoori
                                           2022-CV-2470                  Dr. Montgomery
       v. Dr. Montgomery


                                                                   Christopher Stadnicki, PA- C
      Christopher Mansoori                 2022-CV-2471




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    v. Christopher Stadnicki, PA-
                 C1



       Christopher Mansoori                                                               Correctional Officer
    v. Correctional Officer Patel                 2022- CV- 3484                                 Patel

                                         2017-CV-8846
              Christopher Mansoori v. Superintendent Brown and Commander Garcia

         This is a conditions of confinement case where Plaintiff alleges Superintendent Brown only

permitted Plaintiff to wash his clothes on two occasions, from July 2, 2017 to November 3, 2017.

Plaintiff further alleges Commander Garcia failed to remove black mold August 26, 2017 to

February 15, 2018.

         1.       No written discovery has been issued or exchanged by either party in connection

with this case. The Parties each plan to propound written discovery within 21 days. The Parties

will review responses to written discovery and then determine if further written discovery or a

conference is needed. The Parties are planning to work together to arrange depositions in the next

3 months and then proceed with briefing on the issue of exhaustion. The Parties reserve the right

to serve further written discovery and depose any parties or other witnesses on the merit issues in

this case if the case proceeds after the briefing on the issue of exhaustion.

                                         2021-CV-5881
                       Christopher Mansoori v. C.O. Kimberly Squires, et. al.

         This is a conditions of confinement case where Plaintiff alleges lack of access to recreation,

sunlight, and fresh air from the time of December 2019 through June 2021 against Defendants




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 This matter has a pending motion to dismiss as well as an issue regarding Plaintiff’s failure to exhaust
administrative remedies and had been identified in both sections.

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Correctional Officer Kimberly Squires, Lieutenant James Holmes, Lieutenant Damita Delitz,

Correctional Officer William Mintah, and Assistant Executive Director Erica Queen.

       1.      The Parties have propounded written Discovery. The Parties are currently

reviewing the responses to the propounded written discovery and will then determine if further

written discovery or a conference is needed. The Parties recently met via video conference on

zoom for a recurring bi-weekly discovery discussion and another conference is scheduled for June

14, 2023. The Parties are planning to work together to arrange depositions in the next 2 months

and then proceed with briefing on the issue of exhaustion. The Parties reserve the right to serve

further written discovery and depose any parties or other witnesses on the merit issues in this case

if the case proceeds after the briefing on the issue of exhaustion.

                                      2022-CV-1634
                       Christopher Mansoori v. Jovante Thomas (“J.T.”)

       This is a conditions of confinement case where Plaintiff alleges, he was subjected to

living with mice and roaches during December of 2021.

       1.      The Parties have propounded written Discovery. The Parties are currently

answering and reviewing the responses to the propounded written discovery and will then

determine if further written discovery or a conference is needed. The Parties recently met via video

conference on zoom for a recurring bi-weekly discovery discussion and another conference is

scheduled for June 14, 2023. The Parties are planning to work together to arrange depositions in

the next 2 months and then plan to proceed with briefing on the issue of exhaustion. The Parties

reserve the right to serve further written discovery and depose any parties or other witnesses on

the merit issues in this case if the case proceeds after the briefing on the issue of exhaustion.




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                                       2022-CV-2469
                          Christopher Mansoori v. C.O. Larkin, et. al.

       This is a conditions of confinement case. Plaintiff alleges destruction of belongings in cell,

including contact lenses on December 24, 2016.

       1.      The Parties have propounded written Discovery. The Parties are currently

answering the propounded written discovery and will then determine if further written discovery

or a conference is needed. The Parties are planning to work together to arrange depositions in the

next 2 months and then plan to proceed with briefing on the issue of exhaustion. The Parties reserve

the right to serve further written discovery and depose any parties or other witnesses on the merit

issues in this case if the case proceeds after the briefing on the issue of exhaustion.

                                       2022-CV-2470
                        Christopher Mansoori v. Dr. Montgomery, et. al.

       This is an unreasonable medical care case where Plaintiff alleges Defendant Dr.

Montgomery’s failure to provide dental care caused tooth decay and pain while he was

incarcerated been the dates of June 30, 2017 until February 15, 2018.

       1.      The Parties have propounded written Discovery. The Parties are currently

answering the propounded written discovery and will then determine if further written discovery

or a conference is needed. The Parties are planning to work together to arrange depositions in the

next 2 months and will then plan to proceed with briefing on the issue of exhaustion. The Parties

reserve the right to serve further written discovery and depose any parties or other witnesses on

the merit issues in this case if the case proceeds after the briefing on the issue of exhaustion.




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                                          2022-CV-3484
                                Christopher Mansoori v. C.O. Patel

        This is a conditions of confinement case, where Plaintiff alleges the Defendant placed him

in isolation without cause, allowing an inmate to spray Plaintiff with urine and chemicals between

the dates of February 21 and February 28, 2016.

        1.       The Parties have propounded written Discovery. The Parties are currently

answering written discovery and will then determine if further written discovery or a conference

is needed. The Parties are planning to work together to arrange depositions in the next 2 months

and then plan to proceed with briefing on the issue of exhaustion. The Parties reserve the right to

serve further written discovery and depose any parties or other witnesses on the merit issues in this

case if the case proceeds after the briefing on the issue of exhaustion.

D.      Cases Ready to Proceed with a Regular Discovery Schedule.

        The Parties have identified the below four cases where merit-based discovery is underway.


                      Case name                                       Case Number

                 Christopher Mansoori
                                                                     2021-CV-6173
                 v. Director Morrison
                 Christopher Mansoori
                                                                     2021-CV-6379
             v. Mellicent Ear ( “Ms. Milly)
                 Christopher Mansoori
               v. Christopher Stadnicki,                             2022-CV-1632
                        PA- C
                 Christopher Mansoori
                                                                     2022-CV-1642
              v. Sergeant Amador, et. al.




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                                      2021-CV-6173
                      Christopher Mansoori v. Director James Morrison
       This is a conditions of confinement case where Plaintiff alleges, he was subjected to

extremely cold temperatures from November 7, 2019 through February 12, 2021.

       1.      The Parties have propounded written Discovery. The Parties are currently

reviewing the responses to the propounded written discovery and will then determine if further

written discovery or a conference is needed. The Parties recently met via video conference on

zoom for a recurring bi-weekly discovery discussion and another conference is scheduled for June

14, 2023. The Parties are planning to work together to arrange depositions in the next 2 months.

                                      2021-CV-6379
                     Christopher Mansoori v. Mellicent Ear (“Ms. Milly”)

       This is an access to courts and retaliation case where Plaintiff alleges Librarian Mellicent

Ear failed to provide him with reasonable access to the Jail library for purposes of conducting legal

research. Plaintiff further claims that the Defendant Ms. Ear then retaliated against him for suing

other librarians during the time period of October 31, 2019 through March 2022.

       1.      The Parties have propounded written Discovery. The Parties are currently

reviewing the responses to the propounded written discovery and will then determine if further

written discovery or a conference is needed. The Parties recently met via video conference on

zoom for a recurring bi-weekly discovery discussion and another conference is scheduled for June

14, 2023. The Parties are planning to work together to arrange depositions in the next 4 months.

                                     2022-CV-1632
                    Christopher Mansoori v. Christopher Stadnicki, PA-C

       This is a delay in medical care case, where Plaintiff alleges a six-week delay in obtaining

treatment for a broken hand, resulting in injury and pain.




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       1.      The Parties have propounded written Discovery. A new, Nurse Baines, was recently

named in this case and has not yet been served nor has discovery been exchanged relating to this

Defendant. The Parties are currently reviewing the responses to written discovery which has been

propounded and will then determine if further written discovery or a conference is needed. The

Parties recently met via video conference on zoom for a recurring bi-weekly discovery discussion

and another conference is scheduled for June 14, 2023. The Parties are planning to work together

to arrange depositions in the next 4 months.

                                     2022-CV-1642
                      Christopher Mansoori v. Sergeant Amador, et. al.

       This is a conditions of confinement case where Plaintiff alleges he suffered inhalation of

drugs, chemicals, toxic fumes, and secondhand smoke while incarcerated between the dates of

December 2020 – February 2022, identifying Assistant Executive Director Erica Queen,

Executive Director Don Beachem, Superintendent Kia McCray, Lieutenant James Holmes, and

Sergeant Antonio Amador as Defendants.

       1.      The Parties have propounded written Discovery. Cook County was recently named

as a Nominal Defendant in this case, although no new discovery requests have been exchanged

between Plaintiff and Cook County. The Parties are currently reviewing the responses to the

remaining written discovery and will then determine if further written discovery or a conference

is needed. The Parties recently met via video conference on zoom for a recurring bi-weekly

discovery discussion and another conference is scheduled for June 14, 2023. The Parties are

planning to work together to arrange depositions in the next 4 months.


                                                    Respectfully submitted,

                                                    /s/ Jorie R. Johnson
                                                    Jorie R. Johnson

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                               CERTIFICATE OF SERVICE

I, Jorie R. Johnson hereby certify that I have caused true and correct copies of All Case Joint
Status Report and foregoing to be served on all Parties pursuant to ECF and in accordance with
the rules of electronic filing of documents a copy was mailed via U.S. Mail on this 5th day of
June 2023.


To:


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Christopher James Mansoori
2019-1007189
Cook County Jail - CCJ
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                                     /s/ Jorie R. Johnson
                                     Jorie R. Johnson




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